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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
DANITA SWAIN, f/k/a DANITA HENRY, )
on behalf of plaintiff and the class defined )
herein,                                      )
                                             )
                        Plaintiff,           )
                                             )
               vs.                           )
                                             )
CONVERGENT OUTSOURCING, INC., )
                                             )
                        Defendant.           )

                               COMPLAINT -- CLASS ACTION

                                        INTRODUCTION
       1.      Plaintiff Danita Swain, f/k/a Danita Henry brings this action to secure redress

from unlawful credit and collection practices engaged in by defendant Convergent Outsourcing,

Inc. Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

(“FDCPA”).

       2.      The FDCPA broadly prohibits unfair or unconscionable collection methods,

conduct which harasses or abuses any debtor, and the use of any false or deceptive statements in

connection with debt collection attempts. It also requires debt collectors to give debtors certain

information. 15 U.S.C. §§1692d, 1692e, 1692f and 1692g.

       3.      In enacting the FDCPA, Congress found that: “[t]here is abundant evidence of the

use of abusive, deceptive, and unfair debt collection practices by many debt collectors. Abusive

debt collection practices contribute to the number of personal bankruptcies, to marital instability,

to the loss of jobs, and to invasions of individual privacy.” 15 U.S.C. §1692(a).

       4.      Because of this, courts have held that “the FDCPA's legislative intent emphasizes

the need to construe the statute broadly, so that we may protect consumers against debt collectors'

harassing conduct.” and that “[t]his intent cannot be underestimated.” Ramirez v. Apex Financial

Management LLC, 567 F.Supp.2d 1035, 1042 (N.D.Ill. 2008).

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        5.     The FDCPA encourages consumers to act as "private attorneys general" to enforce

the public policies and protect the civil rights expressed therein. Crabill v. Trans Union, LLC,

259 F.3d 662, 666 (7th Cir. 2001).

        6.     Plaintiff seeks to enforce those policies and civil rights which are expressed

through the FDCPA, 15 U.S.C. §1692 et seq.

                                 VENUE AND JURISDICTION
        7.     This Court has jurisdiction under 15 U.S.C. §1692k (FDCPA), 28 U.S.C.

§1331 and 28 U.S.C. §1337.

        8.     Venue and personal jurisdiction in this District are proper because:
               a.      Defendant’s collection communications were received by plaintiff

                       within this District;

               b.      Defendant does or transacts business within this District.

                                               PARTIES
        9.     Plaintiff Danita Swain, f/k/a Danita Henry is an individual who resides in this

District.

        10.    Convergent is a Washington corporation with principal offices at 800 SW 39th,

Strenton, Washington 98057. It does business in Illinois. Its registered agent and office is CT

Corporation System, 208 South LaSalle Street, Suite 814, Chicago, Illinois 60604.

        11.    Convergent’s business activities consist of (a) acting as a collection agency, using

the mails and telephone system to collect delinquent debts for others, and (b) acting as a debt

buyer, purchasing delinquent debts and using the mails and telephone system to collect them.

        12.    Convergent states on its website:

               Convergent is one of the largest contingency collection companies in the
               United States, with leading clients from a wide variety of industries,
               including banks, financial institutions, retailers, telecommunications
               companies, cable and satellite service providers and utilities. We are
               skilled at dealing with debtor resistance to paying their obligations and use
               proven strategies and collection techniques to encourage voluntary
               payment in compliance with applicable law, regulation and client policy.


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(http://www.convergentusa.com/receivables/service.php?s=32)

       13.     Convergent is a debt collector as defined in the FDCPA

                                              FACTS
       14.     Defendant has been attempting to collect from plaintiff an alleged debt consisting

of a balance owed on a checking account. The account was for personal, family or household

purposes and not for business purposes.

       15.     On or about January 9, 2018, Convergent Outsourcing, Inc., sent plaintiff the

letter attached as Exhibit A.

       16.     The statute of limitations applicable to the debt was five years pursuant to 735
ILCS 5/13-205. On information and belief, the account agreement did not provide for acceptance

by signature and provided that it may be amended by notice followed by continued use. This is

standard industry practice for checking accounts.

       17.     On January 9, 2018, more than five years had elapsed since the last payment or

activity on the account which is the subject of Exhibit A.

       18.     Exhibit A offers to settle the debt.

       19.     Plaintiff was damaged in that she was confused and disturbed by the possibility

that this old debt was considered legally enforceable.

       20.     Convergent Outsourcing, Inc., regularly seeks to collect consumer debts.

       21.     Convergent Outsourcing, Inc., regularly attempts to collect debts on which the

statute of limitations has expired.

       22.     Convergent Outsourcing, Inc., regularly sends letters in the form of Exhibit A on

debts on which the statute of limitations has expired.

                                       COUNT I – FDCPA
       23.     Plaintiff incorporates paragraphs 1-22.

       24.     Exhibit A implies that the alleged debt is legally enforceable by offering

settlement.


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          25.   Nothing in Exhibit A disclosed that the debt was barred by the statute of

limitations and not legally enforceable.

          26.   It is the policy and practice of Convergent Outsourcing, Inc. to send and cause the

sending of letters seeking to collect time-barred debts that do not disclose that the debt is time-

barred.

          27.   The Federal Trade Commission has determined that “Most consumers do not

know their legal rights with respect to collection of old debts past the statute of limitations . . . .

When a collector tells a consumer that she owes money and demands payment, it may create the

misleading impression that the collector can sue the consumer in court to collect that debt.”
(http://www.ftc.gov/opa/2012/01/asset.shtm)

          28.   In early 2012, the FTC entered into a consent decree with Asset Acceptance, one

of the largest debt buyers in the United States, requiring that it disclose to consumers when it is

attempting to collect debts that are barred by the statute of limitations. United States of America

(For the Federal Trade Commission) v. Asset Acceptance, LLC, Case No. 8:12-cv-182-T-27EAJ

(M.D.Fla.).

          29.   On October 1, 2012, the Consumer Financial Protection Bureau, which has taken

over much of the FTC’s enforcement responsibility and has been granted rule-making authority

with respect to debt collection, the Federal Deposit Insurance Corporation, the Federal Reserve

Board, and the Office of the Comptroller of the Currency entered into consent orders with three

American Express-related entities requiring disclosure that debts they attempt to collect were

time-barred. 2012-CFPB-0002; 2012-CFPB-0003; 2012-CFPB-0004. The orders require that

“the Bank shall continue to provide disclosures concerning the expiration of the Bank’s

litigation rights when collecting debt that is barred by the applicable state statutes of limitations .

. . .” (2012-CFPB-0002, p. 6 of 35, 2012-CFPB-0003, p. 5 of 28).

          30.   The October 1, 2012 orders further require disclosure of “all material conditions,

benefits and restrictions concerning any offer of settlement. . . .” (2012-CFPB-0002, p. 7 of 35,


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2012-CFPB-0003, p. 6 of 28). Thus, they recognize that “settlement offers” that fail to disclose

material information may be misleading.

        31.    On January 30, 2013, the FTC issued its report, The Structure and Practices of the

Debt Buying Industry, available at http://www.ftc.gov/os/2013/01/ debtbuyingreport.pdf. The

report reaffirms its position in the United States of America v. Asset Acceptance, LLC, No. 8:12-

cv-182-T-27EAJ (M.D. Fla. 2012), American Express Centurion Bank (FDIC-12-315b, FDIC-

12-316k, 2012-CFPB-0002), American Express Bank, FSB (2012-CFPB-0003) and American

Express Travel Company, Inc. (2012-CFPB-0004) cases, that a defendant may violate the

FDCPA by sending a collection letter demanding payment of a time barred debt without
disclosing that the debt was time barred.

        32.    The report cites to a study (Timothy E. Goldsmith & Natalie Martin, Testing

Materiality Under the Unfair Practices Acts: What Information Matters When Collecting Time-

Barred Debts?, 64 Consumer Fin. L.Q. Rep. 372 (2010)) that establishes the disclosure that a

debt is time barred in a debt collection letter is material to the consumer.

        33.    Courts have also held that the offer of a settlement on a time-barred debt is

misleading. McMahon v. LVNV, LLC, 744 F.3d 1010 (7th Cir. 2014); Buchanan v. Northland

Group, Inc., 776 F.3d 393 (6th Cir. 2015).

        34.    Convergent Outsourcing, Inc., engaged in unfair and deceptive acts and practices,

in violation of 15 U.S.C. §§1692e, 1692e(2), 1692e(5), 1692e(10), and 1692f, by sending

consumers letters , such as Exhibit A, offering to settle time-barred debts without disclosure of

that fact.

                                    CLASS ALLEGATIONS
        35.    Plaintiff brings this claim on behalf of a class, pursuant to Fed.R.Civ.P. 23(a) and

23(b)(3).

        36.    The class consists of (a) all individuals with Illinois addresses (b) to whom

Convergent Outsourcing, Inc., (c) sent a letter offering a settlement of a debt (d) consisting of a


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balance allegedly owed on a checking account where terms are subject to change on notice (e) on

which the last payment or activity by the consumer had occurred more than five years prior to the

letter, (f) which letter was sent on or after a date one year prior to the filing of this action and on

or before a date 21 days after the filing of this action.

        37.     On information and belief, the class and subclass are so numerous that joinder of

all members is not practicable.

        38.     There are questions of law and fact common to the class members, which

common questions predominate over any questions relating to individual class members. The

predominant common question is whether a letter offering a settlement violates the FDCPA
when sent to collect a time-barred debt.

        39.     Plaintiff’s claim is typical of the claims of the class members. All are based on

the same factual and legal theories.

        40.     Plaintiff will fairly and adequately represent the class members. Plaintiff has

retained counsel experienced in class actions and FDCPA litigation.

        41.     A class action is superior for the fair and efficient adjudication of this matter, in

that:

                a.      Individual actions are not economically feasible;

                b.      Members of the class are likely to be unaware of their rights;

                c.      Congress intended class actions to be the principal enforcement

                        mechanism under the FDCPA.




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      WHEREFORE, the Court should enter judgment in favor of plaintiff and the class

members and against defendants for:

                     i.     Statutory damages;

                     ii.    Actual damages, including all amounts paid on time-barred debts;

                     iii.   Attorney’s fees, litigation expenses and costs of suit;

                     iv.    Such other and further relief as the Court deems proper.




                                           s/ Daniel A. Edelman
                                           Daniel A. Edelman

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                         NOTICE OF LIEN AND ASSIGNMENT
              Please be advised that we claim a lien upon any recovery herein for 1/3 or such
amount as a court awards. All rights relating to attorney’s fees have been assigned to counsel.



                                           s/ Daniel A. Edelman
                                           Daniel A. Edelman



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